Filed 03/27/17                                                           Case 15-14228                                                                 Doc 119




   B 2100A Form (2100A) (12/15)                          United States Bankruptcy Court
                                                              EASTERN DISTRICT OF CALIFORNIA


                     In Re:                                                                                     Case No. 1514228
                     OSCAR GUTIERREZ




                                                   TRANSFER OF CLAIM OTHER THAN FOR SECURITY

                    A CLAIM HAS BEEN FILED IN THIS CASE, or deemed filed under 11 U.S.C. § 1111 (a). Transferee hereby gives
                    evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
                    referenced in this evidence and notice.



                     PRA Receivables Management, LLC., as agent of
                     Portfolio Recovery Associates, LLC                                  CONSUMER PORTFOLIO SERVICES , INC.
                     --------------------------------------------                        --------------------------------------------
                     Name of Transferee                                                  Name of Transferor



                     Name and Address where notices to transferee                        Court Claim # (if known): 1
                     should be sent:                                                     Amount of Claim: $3,145.83
                     Portfolio Recovery Associates, LLC                                  Date Claim Filed: 01/07/2016
                     POB 41067
                     Norfolk, VA 23541


                     Phone: (877)829-8298                                                Phone:
                     Last Four Digits of Acct # : 0930                                   Last Four Digits of Acct #: 0930

                     Name and Address where transferee payments                          Seller Information
                     Should be sent (if different from above)                            CONSUMER PORTFOLIO SERVICES, INC.
                     Portfolio Recovery Associates, LLC
                     POB 12914
                     Norfolk, VA 23541

                     Phone: (877)829-8298
                     Last Four Digits of Acct # : 0930




                     I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
                     knowledge and belief.

                     By: /s/ Mackenzie Fallon                                                             Date: 3/23/2017
                         --------------------------------------------
                         Transferee/Transferee’s Agent
                     Email: Bankruptcy_Info@portfoliorecovery.com


                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571
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